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                      EXHIBIT A


               Orient Overseas Waybills
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                      EXHIBIT B


                      NYK Waybill
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                      EXHIBIT C


                     CMA Waybills
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                      EXHIBIT D


                    Summary Report
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                                                                              Summary of Shipments of Sold Goods based on Exhibit D of the Complaint
                                                                                        (listed in order of appearance in Exhibit D of the Complaint)



          O2Cool Ref. Nos.                                    Forwarder’s Cargo Receipts                                                                           Carrier Waybills


Vendor      Purchase                                                                                 Date of                                                                                                                   ETA at
                     Commercial         Receipt        Maker/            Buyer/                                              Date of                                            Vessel Carrying    Actual       Place of
Invoice      Order                                                                   Shipment To     Receipt Waybill No.               Carrier       Shipper       Consignee                                                   Place of
                     Invoice No.         No.           Supplier         Consignee                                             Bill                                              Cargo / Voyage    Sail Date     Delivery
  No.         No.                                                                                   of Cargo                                                                                                                   Delivery

ENV000     315815      (pending)*     TSA-SZP-     O2Cool, LLC         TSA Stores,   Fontana, CA    1/13/16 (pending)*       1/21/16    CMA      Shenzhen Yusen    TSA Stores, CMA CGM            1/21/16      Fontana, CA      2/8/16
124636                                1600037                          Inc.                                                             CGM      Freight Service   Inc.        Columbia 076TXE

ENV000     315813      O2C/16/        TSA-SZP-     O2Cool, LLC         TSA Stores,   McDonough,     1/15/16 NYKS             1/27/16 NYK Line Shenzhen Yusen       TSA Stores, NYK Olympus        1/26/16     McDonough,        3/4/16
124635                 00072          1600046                          Inc.             GA                  2384265622                        Freight Service      Inc.        038E                              GA

ENV000     315816      O2C/16/        TSA-SZP-     Lengjer Metal &     TSA Stores,   Denver, CO     1/28/16 OOLU             2/1/16    OOCL      Shenzhen Yusen    TSA Stores, Hyundai Courage     2/1/16      Denver, CO       3/1/16
124632                 00145          1600090      Plastic Co., Ltd.   Inc.                                 2568893641                           Freight Service   Inc.        050E

ENV000     315816      O2C/16/        TSA-SZP-     O2Cool, LLC         TSA Stores,   Denver, CO     1/25/16 OOLU             2/1/16    OOCL      Shenzhen Yusen    TSA Stores, Hyundai Courage     2/1/16      Denver, CO       3/1/16
124634                 00120          1600068                          Inc.                                 2568893642                           Freight Service   Inc.        050E

ENV000     315814      O2C/16/        TSA-SZP-     Lengjer Metal &     TSA Stores,   Fontana, CA    1/28/16 OOLU             2/10/16   OOCL      Shenzhen Yusen    TSA Stores, OOCL Long Beach    2/10/16      Fontana, CA     2/29/16
124714                 00144          1600103      Plastic Co., Ltd.   Inc.                                 2569904392                           Freight Service   Inc.        095E

ENV000     315815      O2C/16/        TSA-SZP-     Lengjer Metal &     TSA Stores,   Fontana, CA     2/3/16   OOLU           2/10/16   OOCL      Shenzhen Yusen    TSA Stores, OOCL Long Beach    2/10/16      Fontana, CA     2/29/16
124715                 00185          1600106      Plastic Co., Ltd.   Inc.                                   2569904390                         Freight Service   Inc.        095E

ENV000     315812      O2C/16/        TSA-SZP-     O2Cool, LLC         TSA Stores,   Romeoville,    1/25/16 OOLU             2/10/16   OOCL      Shenzhen Yusen    TSA Stores, OOCL Long Beach    2/10/16     Romeoville, IL    3/7/16
124637                 00121          1600082                          Inc.             IL                  2568982382                           Freight Service   Inc.        095E

ENV000     315812      O2C/16/        TSA-SZP-     Lengjer Metal &     TSA Stores,   Romeoville,    1/30/16 OOLU             2/10/16   OOCL      Shenzhen Yusen    TSA Stores, OOCL Long Beach    2/10/16     Romeoville, IL    3/7/16
124633                 00163          1600096      Plastic Co., Ltd.   Inc.             IL                  2568982530                           Freight Service   Inc.        095E

ENV000     315814      O2C/16/        TSA-SZP-     O2Cool, LLC         TSA Stores, Burlington, NJ   1/15/16 SHZ              2/1/16     CMA      Shenzhen Yusen    TSA Stores, CSCL America        2/2/16     Burlington, NJ    3/3/16
124638                 00071          1600058                          Inc.                                 1916756                     CGM      Freight Service   Inc.        149USS

ENV000     315813      O2C/16/        TSA-SZP-     Lengjer Metal &     TSA Stores,   McDonough,     1/30/16 OOLU             2/2/16    OOCL      Shenzhen Yusen    TSA Stores, NYK Arcadia         2/2/16     McDonough,       3/11/16
124713                 00164          1600104      Plastic Co., Ltd.   Inc.             GA                  2569059430                           Freight Service   Inc.        024E                              GA



 * Copies will be provided with a supplemental declaration.
